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it is evidence described by the warrant. Because this warrant only seeks permission to
examine a device already in the possession of USBP, the execution of this warrant does
not involve the physical intrusion onto a premises. Consequently, there is probable cause
for the Court to authorize execution of the warrant at any time in the day or night.
                                       CONCLUSION
   20) I submit that this affidavit supports probable cause for search warrants authorizing
the examination of the Target Phone described in Attachment A to seek the items
described in Attachment B. I believe that the Target Phone contains evidence relating to
the commission of a criminal offense, which is violations of Title 8, United States Code,
Section 1324, Transportation of Illegal Aliens, as well as constitutes property designed for
use, intended for use, or used in committing the aforementioned crime.
                                           NICHOLAS R          Digitally signed by NICHOLAS R
                                                               DOSMANN
                                           DOSMANN             Date: 2021.08.24 09: 16:14 -07'00'

                                          Nicholas R. Dosmann, Border Patrol Agent -
                                          Intelligence
                                          United States Border Patrol

Subscribed and sworn to
telephonically.
This 24th day of August 2021


Honorable Bruce G. Macdonald
United States Magistrate Judge
District of Arizona




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